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                                               CERTIFICATE


I, Silvio Facchin, a Certified Legal Video Specialist, do hereby certify that the video recording titled:

was-elon-musks-tweet-market-manipulation-tesla-tsla-stock-elon-musk-private-capital-investors-
sec.mp4 is a true and accurate recording of the video found at the link:

https://www.cnbc.com/video/2018/08/07/was-elon-musks-tweet-market-manipulation-tesla-tsla-stock-
elon-musk-private-capital-investors-sec.html



I further certify that I am not related to any of the parties of this action by blood or marriage, and that I
am in no way interested in the outcome of this matter.

IN WITNESS WEREOF, I have hereunto set my hand this March 24, 2022




                                                                    _________________________

Silvio Facchin, CLVS

FAA Certified Remote Pilot

Director of Videography

TSG Reporting, Inc.




                                                                                              UNITED STATES DISTRICT COURT
                                                                                            NORTHERN DISTRICT OF CALIFORNIA
                                                                                           Case Number:     3:18-cv-04865-EMC
                                                                                           PLTF / DEFT
                                                                                           Exhibit No.               521
                                                                                           Date Admitted:
                                                                                           By:
                                                                                                            Angella Meuleman, Deputy Clerk


                                                 TE 521-1
